Case 5:09-cr-00279-SMH-MLH           Document 701        Filed 09/02/14      Page 1 of 16 PageID #:
                                            3429



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                 SHREVEPORT DIVISION

  UNITED STATES OF AMERICA                                CRIMINAL ACTION NO. 09-00279-10
                                                          CIVIL ACTION NO. 12-1525

  VERSUS                                                  JUDGE S. MAURICE HICKS, JR.

  BRIAN MOSS                                              MAGISTRATE JUDGE HORNSBY

                                    MEMORANDUM RULING

         Before the Court are a Motion to Vacate, Set Aside, or Correct Sentence Under 28

  U.S.C. § 2255 (Record Document 464) and an Amended Motion to Vacate, Set Aside, or

  Correct Sentence Under 28 U.S.C. § 2255 (Record Document 546) filed by Petitioner Brian

  Moss (“Moss”). Moss has also filed a Motion for Evidentiary Hearing (Document 466).

  Moss seeks an order from the Court vacating or reducing his sentence on the grounds that:

  (1) his sentence was excessive in violation of the Eighth Amendment; (2) his criminal

  history calculation was incorrect due to the inclusion of a state offense; (3) the Fair

  Sentencing Act of 2010 should have been applied to his case; (4) his counsel was

  ineffective for failing to investigate the offense prior to his guilty and for failing to object to

  the use of immunized statements to calculate his guideline range; (5) his counsel was

  ineffective for failing to challenge an illegal search by officers, resulting in a due process

  violation; and (6) there was insufficient evidence to support his conviction for conspiracy,

  thus he is actually innocent. For the reasons set forth below, Moss’s Section 2255 motions

  and his request for an evidentiary hearing are DENIED.

                                          BACKGROUND

         On April 5, 2010, pursuant to a written plea agreement, Moss plead guilty to Count

  Two of the Indictment which charged him with conspiracy to distribute 50 grams or more
Case 5:09-cr-00279-SMH-MLH         Document 701       Filed 09/02/14    Page 2 of 16 PageID #:
                                          3430



  of a mixture or substance containing a detectable amount of crack cocaine base or crack

  in violation of Title 21, United States Code, Sections 841(a)(1) and 846. See Record

  Documents 211 & 212. The written factual basis read as follows:

                A Title III wiretap of co-defendant Shedrick Green’s cell phone was
         authorized by this Court’s order beginning in February, 2009, and continuing
         through April, 2009, based on an investigation by the Drug Enforcement
         Administration (DEA). The Defendant, BRIAN S. MOSS, was intercepted on
         several calls with Shedrick Green between February and April, 2009, about
         buying quantities of crack cocaine.

               At the time of his arrest on this Indictment, MOSS confess [sic] that he
         was getting his crack cocaine for sale from co-defendant Kevin Goldsmith
         and Shedrick Green.

                Kevin Goldsmith has pled guilty and confirms the above information,
         and states he supplied MOSS with 4 to 9 ounces (112 grams to 252 grams)
         of crack every week or every other week from 2007 to December, 2008.

                Shedrick Green has pled guilty and confirms the above information,
         and states he supplied MOSS with approximately 18 ounces (504 grams) of
         crack cocaine a month from December, 2008, through May, 2009.

  Record Document 212-2.

         On August 31, 2010, Moss was sentenced to 175 months imprisonment. See

  Record Documents 343 & 344. His original guideline range was 235 to 293 months;

  however, the Court granted the government’s Motion for Sentencing Pursuant to § 5K1.1.

  See Record Documents 326, 343.

         A Notice of Appeal was filed on September 17, 2010. See Record Document 347.

  Counsel for Moss later filed an Anders brief pursuant to Anders v. California, 386 U. S. 738,

  87 S.Ct. 1396 (1967). See Record Document 424. Moss filed a brief in response. See id.

  On June 14, 2011, the appeal was dismissed by the United States Court of Appeals for the

  Fifth Circuit. See id. The Fifth Circuit held “the appeal present[ed] no nonfrivolous issue


                                         Page 2 of 16
Case 5:09-cr-00279-SMH-MLH          Document 701       Filed 09/02/14      Page 3 of 16 PageID #:
                                           3431



  for appellate review” and that Moss’s ineffective assistance of counsel claims were not

  proper to consider on direct appeal. Id. at 1-2.

         Moss timely filed the instant Section 2255 motion on May 31, 2012. See Record

  Document 464. He also requested a evidentiary hearing. See Record Document 466. On

  June 26, 2012, the Court reduced Moss’s sentence from 175 months to 128 months

  pursuant to 18 U.S.C. § 3582(c)(2) in accordance with the guidelines mandated by the Fair

  Sentencing Act of 2010.     See Record Document 478. On November 29, 2012, Moss

  amended his Section 2255 motion. See Record Document 546. The government has

  answered both motions. See Record Documents 511 & 556.

         In his Section 2255 motions, Moss asserts the following grounds for an order

  vacating or reducing his sentence:

         (1)    excessive punishment in violation of the Eighth Amendment Right;

         (2)    erroneous inclusion of a state offense for purposes of calculating his
                criminal history in light of new decisions of the United States Supreme
                Court and sister circuits with respect to maintaining and securing
                uniform resentencing;

         (3)    retroactivity of the Fair Sentencing Act of 2010;

         (4)    ineffective assistance of counsel due to counsel’s failure to investigate
                the offense prior to the guilty plea and counsel’s failure to object to the
                use of immunized statements in calculating the guideline range at
                sentencing;

         (5)    ineffective assistance of counsel due to counsel’s failure to object to
                an illegal search, thereby resulting in a violation of his due process
                rights; and

         (6)    actual innocence of the conspiracy due to insufficient evidence to
                support a conviction of conspiracy.

  See Record Documents 464, 465, 546 & 547.              Moss’s third ground relating to the


                                          Page 3 of 16
Case 5:09-cr-00279-SMH-MLH          Document 701       Filed 09/02/14    Page 4 of 16 PageID #:
                                           3432



  retroactivity of the Fair Sentencing Act is now MOOT, as the Court addressed this issue in

  its Section 3582(c)(2) order of June 26, 2012. See Record Document 478. The Court will

  now move to its analysis of the remaining grounds.

                                    LAW AND ANALYSIS

  I.     Legal Standards.

         “The district court shall conduct a hearing on a petitioner’s allegations ‘(u)nless the

  motion and the files and records of the case conclusively show that the prisoner is entitled

  to no relief.’” 28 U.S.C. § 2255; see also U.S. v. Guerra, 588 F.2d 519, 520 (5th Cir. 1979;

  Dupart v. U.S., 541 F.2d 1148, 1149 (5th Cir. 1976) (per curiam); Summers v. U.S., 538

  F.2d 1208, 1210 (5th Cir. 1976) (per curiam). “Notwithstanding this legislative mandate,

  it is well-settled that a petitioner does not establish his right to a hearing by the simple

  expedient of filing a petition.” Additionally, a hearing is not required on patently frivolous

  claims, claims which are based upon unsupported generalizations, or where the petitioner’s

  allegations are affirmatively contradicted by the record. See Guerra, 588 F.2d at 520-521;

  Holland v. U.S., 406 F.2d 213 (5th Cir. 1969).

         Review under Section 2255 is limited to four grounds: (1) the sentence was

  imposed in violation of the Constitution or laws of the United States; (2) the court was

  without jurisdiction to impose the sentence; (3) the sentence exceeds the statutory

  maximum sentence; or (4) the sentence is otherwise subject to collateral attack. See 28

  U.S.C. § 2255. Furthermore, issues raised and disposed of on direct appeal are not

  subject to further review under Section 2255. See U.S. v. Segler, 37 F.3d 1131, 1134 (5th

  Cir. 1994).



                                         Page 4 of 16
Case 5:09-cr-00279-SMH-MLH          Document 701       Filed 09/02/14    Page 5 of 16 PageID #:
                                           3433



         After accepting a plea of guilty and exhaustion of a defendant’s right to appeal, the

  Court is “entitled to presume that the defendant stands fairly and finally convicted.” U.S.

  v. Shaid, 937 F.2d 228, 231-232 (5th Cir. 1991), quoting U.S. v. Frady, 456 U.S. 152, 164,

  102 S.Ct. 1584, 1592 (1982). “Our trial and appellate procedures are not so unreliable that

  we may not afford their completed operation any binding effect beyond the next in a series

  of endless post conviction collateral attacks. To the contrary, a final judgment commands

  respect.” Frady, 456 U.S. at 164-165, 102 S.Ct. at 1593. Consequently, issues that can

  be presented in a motion filed under 28 U.S.C. § 2255 are limited. A defendant can

  challenge a final conviction only on issues of constitutional or jurisdictional magnitude. See

  Shaid, 937 F.2d at 232. As the Fifth Circuit has stated:

                Relief under 28 U.S.C. § 2255 is reserved for transgressions
                of constitutional rights and for a narrow range of injuries that
                could not have been raised on direct appeal and would, if
                condoned, result in a complete miscarriage of justice. Non-
                constitutional claims that could have been raised on direct
                appeal, but were not, may not be asserted in a collateral
                proceeding.

  U.S. v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992) (citations omitted). A defendant who

  fails to challenge his conviction or sentence on direct review, but who raises either

  constitutional or jurisdictional error for the first time on collateral review must show both

  “cause” for his procedural default and “actual prejudice” resulting from the asserted error,

  or must demonstrate that he is “actually innocent.” Bousley v. U.S., 523 U.S. 614, 622, 118

  S.Ct. 1604, 1611 (1998); U.S. v. Walker, 68 F.3d 931, 934 (5th Cir. 1995); Segler, 37 F.3d

  at 1133.

         In cases in which a defendant has entered a guilty plea, the only question for the

  court to determine is whether the defendant’s decision to plead guilty was voluntary. See

                                         Page 5 of 16
Case 5:09-cr-00279-SMH-MLH           Document 701       Filed 09/02/14     Page 6 of 16 PageID #:
                                            3434



  U.S. v. Cavitt, 550 F.3d 430, 441 (5th Cir. 2008). A defendant who voluntarily pleads guilty

  waives all non-jurisdictional defects in the proceedings against him. See id.; U.S. v.

  Daughenbaugh, 549 F.3d 1010, 1012. (5th Cir. 2008).

         The general rule prohibiting a defendant from raising claims on collateral review

  absent “cause” and “actual prejudice” does not apply to claims of ineffective assistance of

  counsel. Massaro v. U.S., 538 U.S. 500, 504, 123 S.Ct. 1690, 1693 (2003). This

  “procedural default rule is neither a statutory nor constitutional requirement, but it is a

  doctrine adhered to by the courts to conserve judicial resources and to respect the law’s

  important interest in the finality of judgments.” Id. at 504, 123 S.Ct. at 1693. Requiring a

  criminal defendant to bring claims of ineffective assistance of counsel on a direct appeal

  does not promote these objectives. See id. A claim of ineffective assistance of counsel

  cannot be properly resolved on appeal because there has been no opportunity to develop

  the record on the merits of these allegations. See id. Thus, a criminal defendant is

  permitted to bring ineffective assistance of counsel claims in a collateral proceeding under

  § 2255, regardless of whether such claims could have been raised on direct appeal. See

  id.

         In order to prevail on a claim of ineffective assistance of counsel, Moss must prove

  (1) that his counsel’s actions were deficient, i.e., fell below an objective standard of

  reasonableness; and (2) that his counsel’s deficient performance prejudiced the defense,

  i.e., his attorney’s “errors were so serious as to deprive the defendant of a fair trial, a trial

  whose result is reliable.” See Strickland v. Washington, 466 U.S. 668, 687, 104 S.Ct. 2052,

  2064 (1984); Bryant v. Scott, 28 F.3d 1411, 1414-1415 (5th Cir. 1994). Moss bears the

  burden of proving both prongs of the Strickland test. See U.S. v. Franks, 230 F.3d 811,

                                           Page 6 of 16
Case 5:09-cr-00279-SMH-MLH          Document 701       Filed 09/02/14    Page 7 of 16 PageID #:
                                           3435



  813 (5th Cir. 2000). “Failure to establish deficient performance or prejudice defeats an

  ineffective assistance claim.” Id. Courts need not analyze the Strickland prongs in any

  particular order. See Goodwin v. Johnson, 132 F.3d 162, 172 n. 6 (5th Cir. 1998).

         Under the first prong of the Strickland test, “a court must indulge a strong

  presumption that counsel’s conduct falls within the wide range of reasonable professional

  assistance; that is, the defendant must overcome the presumption that, under the

  circumstances, the challenged action ‘might be considered sound trial strategy.’”

  Strickland, 466 U.S. at 689, 104 S. Ct. at 2065. Under the second prong, the defendant

  must show “that there is reasonable probability that, but for counsel’s specified errors, the

  result of the proceeding would have been different.” Murray v. Maggio, 736 F.2d 279, 282

  (5th Cir. 1984). In other words, “to establish prejudice . . ., a defendant must show that his

  attorney’s errors were so serious as to render the proceedings unreliable and

  fundamentally unfair.” U.S. v. Saenz-Forero, 27 F.3d 1016, 1021 (5th Cir. 1994).

  II.    Analysis.

         A.     Evidentiary Hearing.

         In his Motion for Evidentiary Hearing, Moss simply recited legal standards and gives

  no specific facts or legal arguments warranting a hearing. Moreover, as more fully set forth

  below, this Court finds that his claims and allegations are unsupported generalizations

  and/or are affirmatively contradicted by the record. For these reasons, Moss’s Motion for

  Evidentiary Hearing is DENIED.

         B.     Eighth Amendment Claim.

         Moss argues that his punishment was so grossly out of proportion to the severity of



                                         Page 7 of 16
Case 5:09-cr-00279-SMH-MLH         Document 701       Filed 09/02/14    Page 8 of 16 PageID #:
                                          3436



  his crime that his Eighth Amendment right “for excessiveness of punishment” was violated.

  Record Document 465 at 5. In support of his argument, Moss refers to case law but gives

  little or no analysis as to how the case law applies to his case. Further, while he refers to

  an “enhanced sentence,” the record easily establishes that his sentence was not enhanced

  under the Armed Career Criminal Act, the Career Criminal Guideline, or 21 U.S.C. § 851.

         “The concept of proportionality is central to the Eighth Amendment. Embodied in

  the Constitution’s ban on cruel and unusual punishments is the precept of justice that

  punishment for crime should be graduated and proportioned to [the] offense.” Graham v.

  Florida, 560 U.S. 48, 59, 130 S.Ct 2011, 2021 (2010). A leading case on this issue is

  Harmelin v. Michigan, 501 U.S. 957, 111 S.Ct. 2680 (1991), wherein the Court held that the

  Eighth Amendment contains a “narrow proportionality principle” that “does not require strict

  proportionality between crime and sentence” but rather “forbids only extreme sentences

  that are ‘grossly disproportionate’ to the crime.” Graham, 560 U.S. at 59-60, 130 S.Ct. at

  2021, citing Harmelin, 501 U.S. at 997, 1000–1001, 111 S.Ct. at 2702-2705. The Harmelin

  Court explained its approach for determining whether a sentence for a term of years is

  grossly disproportionate for a particular defendant’s crime, stating that a court must begin

  by comparing the gravity of the offense and the severity of the sentence. Harmelin, 501

  U.S. at 1005, 111 S.Ct. at 2707.

         Here, Moss has not attacked his guideline calculation or his criminal history.

  Additionally, his sentence of 175 months is well within the statutory term of 5 years to 40

  years. In 2012, Moss’s sentence was reduced to 128 months under the FSA. His present

  sentence is well below the guideline range and the statutory maximum. Based on these

  facts, Moss’s Eighth Amendment challenge fails because he has failed to show how his

                                         Page 8 of 16
Case 5:09-cr-00279-SMH-MLH         Document 701       Filed 09/02/14     Page 9 of 16 PageID #:
                                          3437



  sentence is grossly disproportionate to his offense. See Ross v. Estelle, 694 F.2d 1008,

  1012 (5th Cir. 1983) (“[M]ere conclusory allegations do not raise a constitutional issue in

  a habeas proceeding.”).

         C.     Inclusion of State Offense.

         Moss alleges that “new decisions in the United States Supreme Court and Sister

  Courts has [sic] caused intra-circuit conflict regarding convictions that qualify defendants

  to be enhanced as career criminals, to maintain and secure uniformity resentencing is

  necessary.” Record Document 465 at 3. He refers to his “prior state drug conviction” and

  a “recidivism enhancement.” Record Document 464 at 5; Record Document 465 at 3.

         The exact basis of Moss’s claim is unclear. While he once again cites case law, he

  alleges no specific facts evidencing how the cases are relevant or applicable to the instant

  matter. His sentence was not enhanced under the Armed Career Criminal Act, the Career

  Criminal Guideline, or 21 U.S.C. § 851. The only state offense for which he received any

  criminal history points was an aggravated battery conviction for which he received one

  criminal history point. Yet, even if no point had been added for this state offense, Moss’s

  criminal history category would have remained a II because he committed the instant

  offense while on state probation.

         In sum, Moss has provided no facts to support his claim that his sentence was

  incorrectly calculated based upon a state law offense. See Estelle, 694 F.2d at 1012

  (“[M]ere conclusory allegations do not raise a constitutional issue in a habeas

  proceeding.”). Notwithstanding, any claim would fail because a guidelines issue is not

  cognizable under Section 2255. See Vaughn, 955 F.2d 367 (“A district court’s technical

  application of the Guidelines does not give rise to a constitutional issue.”).

                                         Page 9 of 16
Case 5:09-cr-00279-SMH-MLH         Document 701 Filed 09/02/14           Page 10 of 16 PageID
                                        #: 3438



        D.     Ineffective Assistance of Counsel Claims.

        Moss argues that his counsel was ineffective in the following ways: (1) failure to

 investigate the offense prior to the guilty plea and failure to object to the use of immunized

 statements in calculating the guideline range at sentencing; and (2) failure to object to an

 illegal search, thereby resulting in a violation of his due process rights.

               1.     Failure to Investigate the Offense Prior to the Guilty Plea & Failure to
                      Object to the Use of Immunized Statements

        Moss contends that his counsel was ineffective for failing to investigate drug

 quantity. See Record Document 465 at 2. He later amended this ground to include the

 allegation that his counsel was ineffective for failing to object to the use of immunized

 statements. See Record Document 546 at 10.1 More specifically, Moss argues:

               During debriefing, [Moss] gave statement about role of wholesale
        supplier, Shedrick Green. The United States Probation Department
        misrepresented the amount purchased in their statement to the court. [Moss]
        only purchased five hundred (500) grams of cocaine in a six (6) month period
        from Green. These transactions were never revealed to the Government or
        DEA until [Moss], in the present counsel, during proffer statement, any
        statement used in any limited immunity plea agreement may not be used in
        determining the applicable guidelines range under the United States
        Sentencing Guidelines Manual (“USSG”).
               This error was also made with co-conspirator, Rodney Harper. . . .
        Harper was entitled to specific performance of the agreement and to be
        resentence[d] before a different judge.

 Record Document 465 at 2.


        1
          Moss also alleges that the Government “violated [its] contracted agreement by
 failing to honor the immunized statement agreement that they must strictly adhere to.”
 Record Document 546 at 8. Moss points to the Fifth Circuit’s opinion relating to his co-
 defendant Rodney Harper. See U. S. v. Harper, 643 F.3d 135 (2011). In sum, he argued
 that “the Harper precedence” should apply to his case and that he should be resentenced
 by “a new judge without the drug quantity that violates the Immunized Statement contract.”
 Record Document 547 at 4. This argument will be addressed simultaneously with the
 ineffective assistance of counsel claim raising the same issue.

                                        Page 10 of 16
Case 5:09-cr-00279-SMH-MLH         Document 701 Filed 09/02/14          Page 11 of 16 PageID
                                        #: 3439



        “[C]ounsel has a duty to make reasonable investigations or to make a reasonable

 decision that makes particular investigations unnecessary. In any ineffectiveness case, a

 particular decision not to investigate must be directly assessed for reasonableness in all

 the circumstances, applying a heavy measure of deference to counsel’s judgments.”

 Strickland, 466 U.S. at 691, 104 S.Ct. at 2066. “A defendant who alleges a failure to

 investigate on the part of his counsel must allege with specificity what the investigation

 would have revealed and how it would have altered the outcome of the trial.” U.S. v.

 Green, 882 F.2d 999, 1003 (5th Cir. 1989).

        Here, the Court finds that Moss’s ineffective assistance of counsel claim based on

 failure to investigate fails. During his change of plea hearing, Moss stated that he was

 voluntarily giving up certain rights by pleading guilty. See Record Document 383 at 5, 12.

 He acknowledged his signature on the written factual basis and stated he had no

 disagreement with the facts set forth in the written factual basis. See id. at 6. The written

 factual basis provided:

               A Title III wiretap of co-defendant Shedrick Green’s cell phone was
        authorized by this Court’s order beginning in February, 2009, and continuing
        through April, 2009, based on an investigation by the Drug Enforcement
        Administration (DEA). The Defendant, BRIAN S. MOSS, was intercepted on
        several calls with Shedrick Green between February and April, 2009, about
        buying quantities of crack cocaine.

              At the time of his arrest on this Indictment, MOSS confess [sic] that he
        was getting his crack cocaine for sale from co-defendant Kevin Goldsmith
        and Shedrick Green.

               Kevin Goldsmith has pled guilty and confirms the above information,
        and states he supplied MOSS with 4 to 9 ounces (112 grams to 252 grams)
        of crack every week or every other week from 2007 to December, 2008.

               Shedrick Green has pled guilty and confirms the above information,
        and states he supplied MOSS with approximately 18 ounces (504 grams) of

                                       Page 11 of 16
Case 5:09-cr-00279-SMH-MLH         Document 701 Filed 09/02/14           Page 12 of 16 PageID
                                        #: 3440



        crack cocaine a month from December, 2008, through May, 2009.

 Record Document 212-2. The written factual basis clearly establishes that Moss admitted

 to a conspiracy, that is, regularly dealing in crack cocaine from 2007 to 2009 with two

 different co-defendants. See id. The written factual basis also establishes drug quantity,

 as it clearly references 112 grams to 252 grams in relation to Moss and Kevin Goldsmith

 and 504 grams in relation to Moss and Shedrick Green. See id.

        Moss further admitted during his guilty plea that he believed the government could

 prove him guilty beyond a reasonable doubt of conspiracy to distribute 50 grams or more

 of crack. See Record Document 383 at 11. He declared that his decision to plead guilty

 was a free and voluntary act. See id. at 13.

        In cases in which a defendant has entered a guilty plea, the only question for the

 court to determine is whether the defendant’s decision to plead guilty was voluntary. See

 Cavitt, 550 F.3d at 441. A defendant who voluntarily pleads guilty waives all non-

 jurisdictional defects in the proceedings against him. See id.; Daughenbaugh, 549 F.3d at

 1012. This waiver “includes claims of ineffective assistance of counsel except insofar as

 the ineffectiveness is alleged to have rendered the guilty plea involuntary.” U.S. v. Glinsey,

 209 F.3d 386, 392 (5th Cir. 2000). A review of the transcript from Moss’s change of plea

 hearing reveals there is simply nothing in the record to indicate that counsel’s alleged

 failure to investigate affected the voluntariness of Moss’s guilty plea.

        Moreover, Moss does not “allege with specificity what the investigation would have

 revealed and how it would have altered the outcome of the trial.” Green, 882 F.2d at 1003.

 He does not state what facts his counsel missed that should have been discovered in an

 investigation. He also does not explain in what way any such facts would have influenced

                                        Page 12 of 16
Case 5:09-cr-00279-SMH-MLH        Document 701 Filed 09/02/14          Page 13 of 16 PageID
                                       #: 3441



 him to proceed to trial rather than to plead guilty. Thus, Moss’s ineffective assistance of

 counsel claim relating to his counsel’s alleged failure to investigate likewise fails on the

 merits.

        Moss further argues that the government violated the immunity agreement contained

 in the plea agreement and his counsel was ineffective for failing to object to the use of

 immunized statements. The plea agreement provides for “use immunity for all prospective

 statements to law enforcement agents.” Record Document 212 at 3-4 (emphasis added).

 The plea agreement was accepted and agreed to by the Government on April 5, 2010 and

 became effective when the Court accepted it on that same date. See Record Documents

 211-212. Any statements Moss made prior to April 5, 2010 are not governed by the

 aforementioned use immunity agreement.

        Also on April 5, 2010, Moss acknowledged and did not dispute a written factual basis

 for the plea which included regularly dealing in crack cocaine over a period of years with

 two different co-defendants. See Record Document 212-2. This factual basis, which

 contained free and voluntary statements made by Moss, formed the drug quantity used for

 the guidelines calculation. Moss has not identified any statement that he made after he

 pleaded guilty that was used to calculate his guidelines sentencing range, and that is

 subject to the government’s prospective use immunity agreement.

        As argued by the government, it appears that Moss “is simply attempting to ride the

 coattails of a co-defendant who successfully argued that the government had breached his

 plea agreement by informing the court that the government intended to use proffered

 statements to support the drug calculations in the pre-sentence investigation report.”

 Record Document 556-1 at 4. The Court finds that no such events occurred in this matter

                                       Page 13 of 16
Case 5:09-cr-00279-SMH-MLH         Document 701 Filed 09/02/14          Page 14 of 16 PageID
                                        #: 3442



 and the facts of U. S. v. Harper, 643 F.3d 135 (2011), are not analogous to Moss’s case.

 Thus, all of Moss’s claims relating to the alleged use of immunized statements fail.

               2.     Failure to Object to an Illegal Search

        Moss argues that his counsel was ineffective because she “was aware that evidence

 that Government relied on in Count 2 of indictment, was obtained as a result of an illegal

 search by law officers, which counsel made no evidentiary challenges.” Record Document

 465 at 6. Moss contends that his counsel’s failure “injured” him in two ways: “(1) [he] was

 enhanced because of evidence obtained illegally, and (2) this failure caused [him]

 prejudice, resulting in a harsher sentence.” Record Document 465 at 6.

        As stated previously, Moss’s guilty plea waiver “includes claims of ineffective

 assistance of counsel except insofar as the ineffectiveness is alleged to have rendered the

 guilty plea involuntary.” Glinsey, 209 F.3d at 392. Here, Moss is essentially arguing

 ineffective assistance of counsel for failing to file a motion to suppress. He does not raise

 the issue of voluntariness. Thus, Moss’s claim relating to the alleged illegal search, i.e.,

 a Fourth Amendment violation, fails because he waived not only the filing of any and all

 pre-trial motions by pleading guilty, but also any ineffective assistance of counsel claims

 relating to his counsel’s failure to file a motion to suppress.

        Additionally, this claim fails on the merits because Moss gives no basis on which a

 meritorious motion to suppress could have been filed. He plead guilty to conspiracy to

 distribute 50 grams or more of a mixture or substance containing a detectable amount of

 crack cocaine base or crack, not a substantive drug offense or a firearm offense.

 Suppression of the small amount of drugs and the firearms seized from his residence did

 not affect the conspiracy count to which he entered a guilty plea. Simply put, counsel could

                                        Page 14 of 16
Case 5:09-cr-00279-SMH-MLH          Document 701 Filed 09/02/14          Page 15 of 16 PageID
                                         #: 3443



 have reasonably concluded that the items seized from Moss’s home, even if illegally

 seized, did not form any part of the evidence against him on the drug conspiracy charge.

 See Strickland, 466 U.S. at 689, 104 S.Ct. at 2065 (“[A] court must indulge a strong

 presumption that counsel’s conduct falls within the wide range of reasonable professional

 assistance; that is, the defendant must overcome the presumption that, under the

 circumstances, the challenged action ‘might be considered sound trial strategy.’”).

        E.     Actual Innocence.

        Finally, Moss argued “actual innocence of conspiracy.” Record Document 546 at

 10. He maintains that the evidence was insufficient to support a conspiracy conviction and

 shows “actual innocence.” Id.

        “Actual innocence is not a free-standing ground for relief.” U.S. v. Scruggs, 691 F.3d

 660, 671 (5th Cir. 2012). As explained by the Fifth Circuit, “it is a gateway to consideration

 of claims of constitutional error that otherwise would be barred from review.” Id. Like the

 Scruggs court, this Court need not decide whether Moss is actually innocent because all

 of his constitutional claims fail on the merits. “In other words, [this Court finds] no ground

 for relief on the other side of the gate.” Id.

                                        CONCLUSION

        Based on the foregoing, the Court finds that the issues raised in Moss’s Section

 2255 motion are without merit. His request for an evidentiary hearing likewise fails.

 Accordingly, his Section 2255 Motion (Record Document 464), his Amended Section 2255

 Motion (Record Document 546), and his Motion for Evidentiary Hearing (Record Document

 466) are DENIED.



                                         Page 15 of 16
Case 5:09-cr-00279-SMH-MLH         Document 701 Filed 09/02/14           Page 16 of 16 PageID
                                        #: 3444



         Pursuant to Rule 11(a) of the Rules governing § 2255 proceedings for the United

 States District Courts, this Court must issue or deny a certificate of appealability when it

 enters a final order adverse to the applicant. “Before entering the final order, the court may

 direct the parties to submit arguments on whether a certificate should issue.” Rule 11(a)

 Rule Governing Section 2255 Proceedings for the United States District Courts (emphasis

 added). Unless a Circuit Justice or a Circuit or District Judge issues a certificate of

 appealability, an appeal may not be taken to the court of appeals.

         In this instance, a certificate of appealability is DENIED because the applicant has

 failed to demonstrate a substantial showing of the denial of a constitutional right.

         An order consistent with the instant Memorandum Ruling shall issue herewith.

         THUS DONE AND SIGNED, in Shreveport, Louisiana, this 2nd day of September,

 2014.




                                        Page 16 of 16
